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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                      MONROE DIVISION


  STATE OF MISSOURI ET AL                                 CASE NO. 3:22-CV-01213

  VERSUS                                                  JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                                 MAG. JUDGE KAYLA D. MCCLUSKY

                                      MEMORANDUM ORDER

           This Memorandum Order relates to expedited preliminary-injunction related discovery as

  to Jennifer R. Psaki (“Psaki”). Pursuant to an Order from the United States Court of Appeals for

  the Fifth Circuit (“Fifth Circuit”) [Doc. No. 160], the Fifth Circuit stayed the scheduled deposition

  of Psaki pending the pursuit of less intrusive alternatives to a deposition of Psaki.

           Pursuant to the Fifth Circuit’s Order, this Court ordered the parties to simultaneously file

  alternatives to Psaki’s deposition by January 11, 2023 [Doc. No. 163]. Both parties complied and

  filed supplemental responses addressing those issues [Doc. Nos. 173, 174]. The Court has

  reviewed the alternatives. Accordingly,

           IT IS ORDERED that Defendants amend their previous responses to the interrogatories

  Plaintiffs previously served upon the White House Office of the Press Secretary by providing

  supplemental answers after consultation with former White House Press Secretary Jennifer R.

  Psaki.

           IT IS FURTHER ORDERED that answers be provided to Plaintiffs by January 27, 2023.

           IT IS FURTHER ORDERED that the schedule for expedited preliminary-injunction

  related discovery is extended from January 13, 2023, until January 27, 2023.
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          IT IS FURTHER ORDERED that upon the expiration of the expedited preliminary-

  injunction related discovery schedule on January 27, 2023, Plaintiffs shall have thirty days to file

  a supplemental brief in support of Plaintiffs request for a preliminary injunction.

          IT IS FURTHER ORDERED that within thirty days of Plaintiffs filing their

  supplemental brief in support of their request for preliminary-injunction, Federal Defendants shall

  file their response.

          IT IS FURTHER ORDERED that within fifteen days of filing Federal

  Defednants’response, plaintiffs shall file their reply.

          IT IS FURTHER ORDERED that the Court will contact the parties and schedule oral

  arguments in Monroe, Louisiana at a time after this matter is fully briefed.

          IT IS FURTHER ORDERED that all other requests made by Plaintiffs and Federal

  Defendants in their briefing relating to alternatives to Psaki’s deposition are DENIED.

          MONROE, LOUISIANA, this 12th day of January 2023.



                                                            ____________________________________
                                                            TERRY A. DOUGHTY
                                                            UNITED STATES DISTRICT COURT




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